Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 1 of 52 Page ID #:490



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   10

   11
                              UNITED STATES DISTRICT COURT
   12
            CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
   13

   14   SGII, INC., d/b/a SENEGENCE                 Case No: 8:19-cv-00541-JVS-KES
        INTERNATIONAL, INC., a
   15
        Delaware Corporation                           DEFENDANTS SIARA MARTIN
   16                                                  AND SIARA MARTIN, LCC’S
                          Plaintiff,
   17                                                  FIRST AMENDED
               v.
                                                       COUNTERCLAIMS FOR:
   18                                                  1. DECLARATORY JUDGEMENT
        SIARA MARTIN, an individual, and
   19   SIARA MARTIN, LLC, a Utah                         OF NONINFRINGEMENT
        limited liability company,                     2. DECLARATORY JUDGEMENT
   20                                                     OF INVALIDITY
   21                     Defendants.                  3. COPYRIGHT INFRINGEMENT
        SIARA MARTIN, an individual, and               4. MISAPPROPRIATION OF
   22                                                     RIGHTS OF PUBLICITY
        SIARA MARTIN, LLC, a Utah
   23   limited liability company;                     5. UNJUST ENRICHMENT
                          Counterclaim                 6. TORTIOUS INTERFERENCE
   24                                                     WITH CONTRACTS
                          Plaintiffs,
   25           v.                                     7. UNFAIR COMPETITION [Cal.
                                                          Bus. & Prof. Code §§ 17200, et
   26                                                     seq.];
        SGII, INC., d/b/a SENEGENCE
   27   INTERNATIONAL, INC., a
        Delaware Corporation, Joni Rogers-             DEMAND FOR JURY TRIAL
   28

                                                     1
        ___________________________________________________________________________________________
         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 2 of 52 Page ID #:491



    1    Kante, an individual, and Does 1-
         100;
    2

    3                     Counterclaim
                          Defendants.
    4
                                         COUNTERCLAIMS
    5
              For their counterclaims against counterclaim defendant SGII, INC., d/b/a
    6
        SENEGENCE INTERNATIONAL, INC., and Joni Rogers-Kante, an individual,
    7
        counterclaim plaintiffs SIARA MARTIN and SIARA MARTIN, LLC allege as
    8
        follows:
    9
                                           JURISDICTION
   10
              1.     This court has subject matter jurisdiction over this action under 15
   11
        U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338 because it involves claims arising
   12
        under the Lanham Act and 17 U.S.C. § 101 et seq.
   13
              2.     The court has supplemental jurisdiction over Counterclaim Plaintiff’s
   14
        state law claim under 28 U.S.C. § 1367.
   15
                                                PARTIES
   16
              3.     Counterclaim plaintiff SIARA MARTIN (MARTIN) is an individual
   17
        residing in Tooele, UT.
   18
              4.     Counterclaim plaintiff SIARA MARTIN, LLC (MARTIN LLC) is a
   19
        corporation organized and existing under the laws of the state of Utah, having an
   20
        office and principal place of business at 1049 Ironwood Road, Erda, Utah, 84074.
   21
              5.     Counterclaim defendant SGII, INC., d/b/a SENEGENCE
   22
        INTERNATIONAL, INC. (Counterclaim Defendant) is a Delaware Corporation
   23
        organized and existing under the laws of the state of California, having a principal
   24
        place of business located at 19651 Alter, Foothill Ranch, CA 92610.
   25
              6.     Counterclaim defendant Joni Rogers-Kante is an individual with a
   26
        residence at 76 Golden Eagle in Irvine, CA.
   27
        ///
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        ___________________________________________________________________________________________
         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 3 of 52 Page ID #:492



    1                               FACTUAL ALLEGATIONS
    2         1.     On information and belief, Counterclaim Defendant SGII, Inc.
    3   incorporated as SGII, Inc., in the State of Delaware on or about December 5, 1997.
    4         2.     Counterclaim Defendant SGII, Inc. registered SGII, Inc., as a foreign
    5   corporation in the State of California on or about September 7, 1999.
    6         3.     Counterclaim Defendant SGII, Inc.’ most recent Statement of
    7   Information was filed with the California Secretary of State on or about June 3,
    8   2019, listing Joni Rogers-Kante as CEO, Bennie Kante as Secretary, and Jerome
    9   Kaiser as Chief Financial Officer. The Statement of information reports the type
   10   of business of the corporation is Direct Sales – Cosmetics.
   11         4.     On information and belief, on or about January 6, 2017, Joni Rogers-
   12   Kante, Bennie Kante, and Jerome Kaiser incorporated SGII DC, Inc., in the State
   13   of Delaware.
   14         5.     On or about March 20, 2017, SGII DC, Inc., was registered as a
   15   foreign corporation in California.
   16         6.     The most recent Statement of Information filed with the California
   17   Secretary of State lists Joni Rogers-Kante as CEO, Bennie Kante as Secretary, and
   18   Jerome Kaiser as Chief Financial Officer and reports the type of business of the
   19   corporation is to Facilitate the Distribution of Cos[metics].
   20         7.     On information and belief, on or about March 2, 2017, Joni Rogers-
   21   Kante, Bennie Kante, and Jerome Kaiser formed Senegence Manufacturing, LLC,
   22   in the State of Delaware.
   23         8.     On information and belief, Counterclaim Defendant SGII, Inc. sell
   24   SeneGence products.
   25         9.     On information and belief, CD do not manufacture any of the goods
   26   sold under the SeneGence brand.
   27         10.    On information and belief, SeneGence products are manufactured,
   28   imported, and distributed by Senegence Manufacturing, LLC, and SGII DC, Inc.
                                                     3
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         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 4 of 52 Page ID #:493



    1           11.   On information and belief, Senegence Manufacturing, LLC, or SGII
    2   DC, Inc., is the source of goods for the SeneGence brand. Counterclaim
    3   Defendant SGII, Inc., merely purchases products from SGII DC, Inc., and resells
    4   them.
    5           12.   On information and belief, Counterclaim Defendant SGII, Inc. does
    6   not lawfully use any of the registered trademarks in commerce because they are
    7   not the source of goods.
    8           13.   On information and belief, Counterclaim Defendant Joni Rogers-
    9   Kante has a residence at 76 Golden Eagle in Irvine, California.
   10           14.   Counterclaim Plaintiff Siara Martin became a distributor for
   11   Counterclaim Defendant from on or around September 27, 2016.
   12           15.   Martin rose quickly within the ranks at SeneGence structure largely
   13   because of my marketing efforts and the product photography. Martin’s efforts
   14   surrounding her photography allowed her to sell large amounts of product.
   15           16.   Martin took all of the photography that she utilized as a distributor
   16   herself and owns all copyrights in those works.
   17           17.   By on or around July 3, 2017, Martin had made enough revenue as a
   18   distributor that Martin was eligible for a car incentive (SeneCar) and reached the
   19   ManaGence upper level.
   20           18.   While Martin was a distributor, she utilized many social media outlets
   21   to sell products including YouTube, Facebook, Instagram, and Pinterest.
   22   Distributors are allowed to use SeneGence trademarks and packaging as they wish
   23   for all photography taken while servicing as a distributor.
   24           19.   Counterclaim Defendant SGII, Inc. realized Martin’s skills and
   25   talents, as the company, several times on its official social media channels,
   26   featured Martin’s work as a method to sell its own products.
   27           20.   On numerous occasions representatives of Counterclaim Defendant
   28   SGII, Inc. touted Martin’s work, and in fact requested that she teach others how to
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        ___________________________________________________________________________________________
         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 5 of 52 Page ID #:494



    1   hone their photography skills so that she could help other distributors increase
    2   their revenue—and in turn Counterclaim Defendant’s revenue—through better
    3   photography, because she was a role model in this field.
    4         21.    In fact, Counterclaim Defendant SGII, Inc. were so impressed by
    5   Martin’s photography that in January 2018, Counterclaim Defendant SGII, Inc.
    6   requested –and Martin taught—a photography class on behalf of SeneGence for
    7   1,200 attending distributors and even corporate SeneGence corporate executives.
    8         22.    When Martin conducted trainings, her slides had to be approved by
    9   SeneGence corporate before she could use them for training.
   10         23.    In November of 2017, Martin was told by Kristen Aguilar, head of
   11   marketing that she could not work in corporate for photography solely because she
   12   was a distributor.
   13         24.    Martin continued to thrive within the company, and in April of 2018
   14   Martin was awarded multiple awards at SeneGence Seminar, SeneGence’s annual
   15   event for distributors.
   16         25.    Counterclaim Defendant SGII, Inc. not only approved of Martin’s
   17   photography; they encouraged it. Counterclaim Defendant SGII, Inc. used Martin
   18   as a guide to help other distributors. When she started her Facebook group “Siara’s
   19   Pic’s, several SeneGence executives, including Joni Rogers-Kante, SeneGence
   20   CEO, Leslie Boyd Brandley happily joined the group and encouraged her to share
   21   images in the group that could be used by other distributors.
   22         26.    Counterclaim Defendant SGII, Inc., has a policy allowing
   23   distributors, who are not employees, to create and use their own images and
   24   marketing materials for use in the distributors’ business selling SeneGence
   25   products.
   26         27.    On information and belief, Counterclaim Defendant SGII, Inc., has a
   27   policy allowing distributors to distribute these marketing materials including
   28   Counterclaim Defendant SGII, Inc.’s alleged trademarks to their sub-distributors,
                                                     5
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         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 6 of 52 Page ID #:495



    1   called their “downline.”
    2         28.    On information and belief, Counterclaim Defendant SGII, Inc., does
    3   not review or approve graphics before distributors post them on their social media
    4   channels for viewing by the public.
    5         29.    At no time while Martin was a distributor was a compliance issue
    6   mentioned regarding her photography. In fact, SeneGence encouraged other
    7   distributors to use Martin’s photography and encouraged distributors to create their
    8   own photography. SeneGence did not and does not require approval of the images
    9   before usage. On information and belief, Counterclaim Defendant SGII, Inc. have
   10   never penalized a distributor for poor photography or for using its trademarks or
   11   products.
   12         30.    On information and belief, Counterclaim Defendant SGII, Inc., has
   13   thousands of distributors. Each of these thousands of distributors is not an
   14   employee and is an independent contractor having her own business to sell
   15   SeneGence Products.
   16         31.    Every photograph that was taken while Martin was a distributor was
   17   in compliance with SeneGence.
   18         32.     On May 21, 2018, Martin publicly announced she would no longer
   19   be a distributor.
   20         33.    Literally one day later, on May 22, 2018, Kristen Aguilar, head of
   21   marketing for Counter Defendant, reached out to Martin to actively pursue her to
   22   work for corporate—for marketing and photography purposes—and reiterated that
   23   in order to work for Counterclaim Defendant SGII, Inc. that she would have to
   24   terminate her distributor agreement.
   25         34.    As a result of the assurance by Aguilar and SeneGence that there
   26   would be a corporate job for Martin if Martin were not a distributor, Martin
   27   terminated her distributor agreement on June 3, 2018.
   28         35.    At the time when Martin terminated her distributor agreement, she
                                                     6
        ___________________________________________________________________________________________
         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 7 of 52 Page ID #:496



    1   also went dormant on various social media platforms, including YouTube and
    2   Pinterest. She no longer utilized those accounts in any way, including posting new
    3   content, and abandoned those accounts.
    4         36.    Aguilar herself stated, among other things that Martin was “so
    5   talented” and even said that “I see your work all the time and think, ‘dang! She’s
    6   amazing!’” via various emails to Martin.
    7         37.    Martin then made every effort to work with SeneGence, but was met
    8   with lengthy delays in trying to get specifics about the potential employment
    9   relationship before the employment discussions were terminated.
   10         38.    In late June of 2018, Martin began her activities as organizer of her
   11   own business. Martin then formed Siara Martin LLC on July 12, 2018.
   12         39.    Siara Martin LLC utilized an account on Patreon in order to offer
   13   subscription services to individuals who wanted to support the company by
   14   offering them access to photography. Anyone is welcome to subscribe to the
   15   Patreon account, and Siara Martin LLC nor Siara Martin monitors who is
   16   subscribing, their location, what or if subscribers are downloading images, or not.
   17         40.    On September 10, 2018, just a couple of months after Martin ceased
   18   her role as a ManaGence (high level) distributor and turned down the position in
   19   SeneGence corporate, Siara Martin received a letter from SeneGence, via its
   20   attorney Adam Sherman, which was a cease and desist letter demanding that
   21   Martin cease all use of trademarked materials.
   22         41.    Defendants complied with SeneGence’s request and ensured that no
   23   registered trademarks appeared in her photography that was for sale via her
   24   Patreon account. At no time since that time has either Martin or Siara Martin LLC
   25   added any photography that includes registered trademarks of SeneGence.
   26         42.    Via counsel, Defendants advised SeneGence of their compliance
   27         43.    On October 16, 2018, SeneGence attorney Adam Sherman responded,
   28   via counsel, the following: “SeneGence appreciates the changes your client has
                                                     7
        ___________________________________________________________________________________________
         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 8 of 52 Page ID #:497



    1   made on her websites and other related accounts to stop the infringement of
    2   SeneGence’s trademarks and other IP rights. While SeneGence disagrees with the
    3   characterizations in your letter, including, without limitation, about SeneGence’s
    4   actions and why Ms. Martin believes she did nothing wrong, they do not intend to
    5   take further legal action against Ms. Martin at this time.”
    6         44.      Since that time, Counterclaim Defendant SGII, Inc.have become more
    7   restrictive in their photography, in ensuring that they do not include SeneGence
    8   packaging in any photography, and continue to not use any SeneGence registered
    9   trademarks.
   10         45.      Martin, on behalf of Siara Martin LLC, even sought to create a
   11   partnership with SeneGence regarding her photography business, but SeneGence
   12   declined.
   13         46.      Surprisingly, in February 2019, Defendant Martin received another
   14   cease and desist letter with SeneGence taking exception to Martin’s YouTube and
   15   Pinterest accounts—which clearly had been abandoned since she was a distributor
   16   in June 2018—due to the trademarks being shown and it identifying her as a
   17   distributor.
   18         47.      Defendant Martin, who had completely forgotten about the
   19   information on the YouTube and Pinterest accounts because she no longer used
   20   them, quickly removed all content from those accounts immediately upon
   21   notification from SeneGence. Out of an abundance of caution, she also made clear
   22   in her closed Facebook group that she had no affiliation with SeneGence, as that
   23   seemed to be one of the key points they objected to in the February cease and
   24   desist. Martin and Siara Martin LLC have made every effort to ensure compliance
   25   with SeneGence demands.
   26         48.      It came as a surprise that SeneGence, in the midst of attempting to
   27   discuss settlement terms, filed the original complaint against Martin, as she was
   28   attempting to negotiate a reasonable settlement with them in March of 2019. In
                                                     8
        ___________________________________________________________________________________________
         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 9 of 52 Page ID #:498



    1   fact, on March 18, 2019, SeneGence’s counsel inquired as to the settlement terms,
    2   right at the close of business at 4:57 p.m. Pacific time. Defendant’s counsel
    3   responded, two minutes later at 4:59 p.m. Pacific time, that Martin would respond
    4   in “short order.” That substantive response came less than two business days later
    5   on March 20, 2019, at which time Defendant Martin was advised, via counsel, that
    6   SeneGence had already filed suit the day before, less than one business day after
    7   counsel’s email at 4:57 p.m. on March 18, 2019.
    8         49.    Since Plaintiffs have commenced their lawsuit against Defendant
    9   Martin (and subsequently amending to add Defendant Siara Martin LLC in the
   10   first amended complaint), SeneGence has continued to use Defendant Martin’s
   11   photography, without a license or consent, to promote its brand, despite stating
   12   that such photography creates irreparable harm to its business.
   13         50.    In fact, at SeneGence’s annual seminar on or around April 12 or 13,
   14   2019, SeneGence used, on its big screen no less than nine of Martin’s original
   15   photographs in their presentations and promotions during the event, which caters
   16   to all distributors. All of these images are subject to copyright, and all of them
   17   were used after commencing this lawsuit stating that Martin’s images were
   18   harming their brand.
   19         51.    Prior to Plaintiff’s seminar, they hired Ryan Halls, whose wife was
   20   and still remains a distributor in the Queen rank, as a photographer, which is stark
   21   contrast to their handling of Martin’s employment, because if a spouse is a
   22   distributor, then, by company policy, the other spouse is considered bound to the
   23   same agreement as only one distributor per household is allowed and spouses
   24   become a team.
   25         52.    Since just before the commencement of the present suit, SeneGence
   26   has started issuing compliance letters to distributors—a new practice that didn’t
   27   occur during the two years Defendant Martin was a distributor, advising
   28   distributors that if they used Defendants’ photography that they would be in
                                                     9
        ___________________________________________________________________________________________
         FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 10 of 52 Page ID #:499



     1   violations of their agreements.
     2         53.    Throughout the course of this lawsuit, SeneGence representatives
     3   have continued to praise Martin’s work.
     4         54.    On or around April 18, 2019, in a Facebook live hosted by Aguilar
     5   and Michael Moad, chief legal officer or the equivalent for SeneGence,
     6   Counterclaim Defendant SGII, Inc. stated, clearly in reference to Martin, that “the
     7   images that we’re specifically referring to are beautiful images. I’ll be the first to
     8   admit that.” Aguilar also stated that any usage of Defendants’ photography up
     9   until that point “would be considered to be in compliance” and that the compliance
    10   notices that were being sent were “not violations,” with Moad chiming in, “They
    11   were a reminder.”
    12         55.    But the usage of Defendants’ photography continues, even into this
    13   month. On July 5, 6, and 7, 2019, in a training done for New Zealand and
    14   Australian distributors in an officially approved and sponsored training organized
    15   by SeneGence corporate, yet another photograph of Defendants’ was used. Not
    16   only was the photograph used in training, but Kyrya Clancy, the Customer Service
    17   Manager at SeneGence International shared the presentation via Facebook Live,
    18   again distributing the photograph.
    19                              FIRST CLAIM FOR RELIEF
    20       Declaratory Judgement of Non-Infringement - Registered Trademark
    21         56.    Counterclaim Plaintiffs reallege and incorporate by reference each
    22   and every allegation contained within paragraphs 1 through 54, inclusive, as if the
    23   same were fully set forth herein.
    24         57.    As set forth more fully in the FAC, there is an actual controversy
    25   between Counterclaim Defendant SGII, Inc. and Counterclaim Plaintiffs because
    26   Counterclaim Defendant SGII, Inc. have alleged infringement of multiple federally
    27   registered trademarks.
    28         58.    Counterclaim Defendant SGII, Inc.’s claim for infringement under 15
                                                     10
         ___________________________________________________________________________________________
          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 11 of 52 Page ID #:500



     1   U.S.C. § 1114 requires a showing of likelihood of confusion by the relevant
     2   consumers or potential consumers of the Defendants’ images.
     3         59.     There is no likelihood of confusion created by Defendants’ use of the
     4   accused mark. Consideration of the factors set forth in AMF Inc. v. Sleekcraft
     5   Boats, 599 F.2d 341 (9th Cir. 1979) leads to the conclusion that there is no
     6   likelihood of confusion.
     7         60.     For these and other reasons, there is no likelihood of confusion
     8   created by Defendants’ images.
     9                             SECOND CLAIM FOR RELIEF
    10          Declaratory Judgement of Invalidity - Unregistered Trademarks
    11         61.     Counterclaim Plaintiffs reallege and incorporate by reference each
    12   and every allegation contained within paragraphs 1 through 59, inclusive, as if the
    13   same were fully set forth herein.
    14         62.     As set forth more fully in the FAC, there is an actual controversy
    15   between Counterclaim Defendant SGII, Inc. and Counterclaim Plaintiffs because
    16   Counterclaim Defendant has alleged infringement of a number of unregistered
    17   trademarks.
    18         63.     Counterclaim Defendant’s claims for infringement under 15 U.S.C.
    19   §§ 1114 and 1125(a), for common law trademark infringement and unfair
    20   competition, and for California Unfair Competition under California Business and
    21   Professions Code §17200 all require a valid trademark and a showing of likelihood
    22   of confusion by consumers or potential consumers of the parties’ products.
    23         64.     Counterclaim Defendant SGII, Inc.’s alleged common law trademarks
    24   are invalid and unenforceable because they are generic.
    25         65.     In the alternative, Counterclaim Defendant SGII, Inc.’s alleged
    26   common law trademarks are invalid and unenforceable because they are merely
    27   descriptive and do not have secondary meaning.
    28         66.     In the alternative, Counterclaim Defendant SGII, Inc.’s alleged
                                                     11
         ___________________________________________________________________________________________
          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 12 of 52 Page ID #:501



     1   common law trademarks are invalid and unenforceable because they fail to
     2   function as a trademark and do not identify Counterclaim Defendant SGII, Inc. as
     3   the source of goods.
     4         67.     For these and other reasons, there is no likelihood of confusion
     5   created by Counterclaim Plaintiffs’ images.
     6                              THIRD CLAIM FOR RELIEF
     7      Declaratory Judgement of Non-Infringement - Unregistered Trademark
     8         68.     Counterclaim Plaintiffs reallege and incorporate by reference each
     9   and every allegation contained within paragraphs 1 through 66, inclusive, as if the
    10   same were fully set forth herein.
    11         69.     As set forth more fully in the FAC, there is an actual controversy
    12   between Counterclaim Defendant SGII, Inc. and Counterclaim Plaintiffs because
    13   Counterclaim Defendant has alleged infringement of a number of unregistered
    14   trademarks.
    15         70.     Counterclaim Defendant’s claims for infringement under 15 U.S.C.
    16   §§ 1114 and 1125(a), for common law trademark infringement and unfair
    17   competition, and for California Unfair Competition under California Business and
    18   Professions Code §17200 all require a valid trademark and a showing of likelihood
    19   of confusion by consumers or potential consumers of the parties’ products.
    20         71.     There is no likelihood of confusion created by Defendants’ use of the
    21   accused mark, because consideration of the factors set forth in AMF Inc. v.
    22   Sleekcraft Boats, 599 F.2d 341 (9th Cir. 1979) leads to the conclusion that there is
    23   no likelihood of confusion.
    24         72.     Counterclaim Defendant SGII, Inc.’s alleged common law trademarks
    25   are invalid and unenforceable because they are generic, merely descriptive, fail to
    26   function as a mark, and do not identify Counterclaim Defendant SGII, Inc. as the
    27   source of goods.
    28         73.     For these and other reasons, there is no likelihood of confusion
                                                     12
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 13 of 52 Page ID #:502



     1   created by Counterclaim Plaintiffs’ images.
     2                             FOURTH CLAIM FOR RELIEF
     3   Copyright Infringement Against Counterclaim Defendant Joni Rogers-Kante
     4         74.     Counterclaim Plaintiffs reallege and incorporate by reference each
     5   and every allegation contained within paragraphs 1 through 72, inclusive, as if the
     6   same were fully set forth herein.
     7         75.    This action arises under the Federal Copyright Act of 1976, as
     8   amended, 17 U.S.C. § 101, et seq.
     9         76.    The registrations of all photographs included in this claim have
    10   completed the registration process prior to the filing of the claim, per Supreme
    11   Court requirements.
    12         77.    Counterclaim Plaintiffs are in the photography business and regular
    13   take photography for use in its business. In order to have access to use such
    14   images, one must be a subscriber to Counterclaim Plaintiff’s Patreon account.
    15         78.    Counterclaim Defendant Rogers-Kante is the CEO of SGII, which
    16   instituted a lawsuit against Counterclaim Plaintiffs for infringement of intellectual
    17   property. Since that lawsuit has commenced, Counterclaim Defendant Rogers-
    18   Kante has utilized several of Counterclaim Plaintiffs’ original works to promote
    19   her company’s products and brands, despite stating that these Images are hurting
    20   their trademarks and brand goodwill.
    21         79.    Image 1 is named “oceansiara” and was created by Counterclaim
    22   Plaintiff Martin and published on or around October 18, 2018. The Image was
    23   registered in a group photography registration VA 2-123-361 (Exhibit B) with an
    24   effective date of October 24, 2018. Rogers-Kante posted the image publicly on her
    25   personal Facebook account on or around July 25, 2019.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 14 of 52 Page ID #:503



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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 15 of 52 Page ID #:504



     1         80.    Image 2 is named “bellasiaraglossyblank” and was created by
     2   Counterclaim Plaintiff Martin and published on or around September 3, 2018. The
     3   Image was registered in a group photography registration VA 2-123-361 (Exhibit
     4   B) with an effective date of October 24, 2018. Rogers-Kante posted the image
     5   publicly on her personal Facebook account on or around July 5, 2019.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 16 of 52 Page ID #:505



     1         81.    Image 3 is named “bombshellsiaraglossyblank” and was created by
     2   Counterclaim Plaintiff Martin and published on or around September 3, 2018. The
     3   Image was registered in a group photography registration VA 2-123-361 (Exhibit
     4   B) with an effective date of October 24, 2018. Rogers-Kante posted the image
     5   publicly on her personal Facebook account on or around July 5, 2019.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 17 of 52 Page ID #:506



     1         82.    Image 4 is named “caramelapplesiaraglossyblank” and was created by
     2   Counterclaim Plaintiff Martin and published on or around September 3, 2018. The
     3   Image was registered in a group photography registration VA 2-123-361 (Exhibit
     4   B) with an effective date of October 24, 2018. Rogers-Kante posted the image
     5   publicly on her personal Facebook account on or around July 5, 2019.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 18 of 52 Page ID #:507



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     2         83.    Image 5 is named “dawnrisingsiaraglossyblank” and was created by
     3   Counterclaim Plaintiff Martin and published on or around September 3, 2018. The
     4   Image was registered in a group photography registration VA 2-123-361 (Exhibit
     5   B) with an effective date of October 24, 2018. Rogers-Kante posted the image
     6   publicly on her personal Facebook account on or around July 5, 2019.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 19 of 52 Page ID #:508



     1         84.    Image 6 is named “luvitisiaraglossyblank” and was created by
     2   Counterclaim Plaintiff Martin and published on or around September 3, 2018. The
     3   Image was registered in a group photography registration VA 2-123-361 (Exhibit
     4   B) with an effective date of October 24, 2018. Rogers-Kante posted the image
     5   publicly on her personal Facebook account on or around July 5, 2019.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 20 of 52 Page ID #:509



     1         85.    Image 7 is named “sheerberrysiaraglossyblank” and was created by
     2   Counterclaim Plaintiff Martin and published on or around September 3, 2018. The
     3   Image was registered in a group photography registration VA 2-123-361 (Exhibit
     4   B) with an effective date of October 24, 2018. Rogers-Kante posted the image
     5   publicly on her personal Facebook account on or around July 5, 2019.
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    20         86.    The Images are original works of authorship fixed in a tangible
    21   medium of expression from which they can be perceived, reproduced, or otherwise
    22   communicated, either directly or with the aid of a machine or device; they are in
    23   perspective, orientation, positioning, lighting and other details are entirely original,
    24   distinctive, and unique. As such, the Images are subject matter protectable under
    25   the Copyright Act.
    26         87.    Counterclaim Plaintiffs never authorized Joni Rogers-Kante to
    27   reproduce, display, or distribute the Images for any usage, especially on her social
    28   media platforms open to the public or otherwise.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 21 of 52 Page ID #:510



     1          88.   Counterclaim Plaintiff Martin is the proprietor of the right, title, and
     2   interest in and to the copyright in the pursuant to 17 U.S.C. § 201.
     3          89.   The Images have been duly registered with the United States
     4   Copyright Office in registrations with an effective date of October 24, 2018.
     5          90.   Counterclaim Defendant did not have the authorization of
     6   Counterclaim Plaintiff Martin or the law to reproduce, distribute, display, or create
     7   derivative works of the Images.
     8          91.   Counterclaim Defendant has not compensated Martin for reproducing
     9   and displaying the Images.
    10          92.   Without Martin’s authorization, Counterclaim Defendant reproduced
    11   and publicly displayed Martin’s copyrightable works in violation of 17 U.S.C. §
    12   501.
    13          93.   Counterclaim Defendant’s conduct violates the exclusive rights
    14   belonging to Martin under 17 U.S.C. § 106.
    15          94.   All of Joni Rogers-Kante’s usages of the Images have come after the
    16   company she is the CEO of initiated its lawsuit against Counterclaim Plaintiffs
    17   regarding intellectual property matters.
    18          95.   Counterclaim Defendant Rogers-Kante was reproducing, displaying,
    19   and distributing the Images between July 5, 2019 and July 25, 2019, Martin’s
    20   claims of infringement are clearly within the three-year statute of limitations
    21   period pursuant to 17 U.S.C. § 507(b).
    22          96.   As a direct and proximate result of their wrongful conduct,
    23   Defendants have realized and continues to realize profits and other benefits
    24   rightfully belonging to Martin for the Images. Accordingly, Martin is entitled to
    25   and seeks an award of actual damages and profits plus attorneys’ fees and costs
    26   pursuant to 17 U.S.C. §§ 504(b) and 505 for all images.
    27          97.   In the alternative, since Martin timely registered the copyrights in the
    28   twenty-one Images, Martin is entitled to and seeks statutory damages for
                                                     21
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 22 of 52 Page ID #:511



     1   Defendants’ infringement of the Images, including attorneys’ fees and costs,
     2   pursuant to 17 U.S.C. §§ 504(c)(1) and 505.
     3         98.    The infringement by Counterclaim Defendant SGII, Inc. was blatantly
     4   willful and performed with knowledge that the reproduction and display of the
     5   Images was unauthorized, especially given that they are in pending litigation with
     6   the creator of the works; Martin is therefore entitled to the recovery of enhanced
     7   statutory damages pursuant to 17 U.S.C. 504 (c)(2).
     8                              FIFTH CLAIM FOR RELIEF
     9           Copyright Infringement Against Counterclaim Defendant SGII
    10         99.    Counterclaim Plaintiffs reallege and incorporate by reference each
    11   and every allegation contained within paragraphs 1 through 97, inclusive, as if the
    12   same were fully set forth herein.
    13         100. This action arises under the Federal Copyright Act of 1976, as
    14   amended, 17 U.S.C. § 101, et seq.
    15         101. The registrations of all photographs included in this claim have
    16   completed the registration process prior to the filing of the claim, per Supreme
    17   Court requirements.
    18         102. Counterclaim Plaintiffs are in the photography business and regular
    19   take photography for use in its business. In order to have access to use such
    20   images, one must be a subscriber to Counterclaim Plaintiff’s Patreon account.
    21         103. SeneGence has used copious amounts of Counterclaim Plaintiffs’
    22   original works to promote their products and brands, despite stating that these
    23   Images are hurting their trademarks and brand goodwill.
    24         104. Image 1 is named “idoeye1” and was created by Counterclaim
    25   Plaintiff Martin and published on or around February 11, 2019. The Image was
    26   registered in a group photography registration VA 2-155-246 (Exhibit A) with an
    27   effective date of June 19, 2019. SeneGence used the image on its massive
    28   overhead video screen at SeneGence Seminar on or around April 12 or 13, 2019,
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 23 of 52 Page ID #:512



     1   which has since been rebroadcasted.
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     3                                                              Image “idoeye1”
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    14                                             SeneGence usage of “idoeye1” at Seminar
    15                                             on or around April 12-13, 2019
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    23         105. Image 2 is named “idoeye2” and was created by Counterclaim
    24   Plaintiff Martin and published on or around February 11, 2019. The Image was
    25   registered in a group photography registration VA 2-155-246 (Exhibit A) with an
    26   effective date of June 19, 2019. SeneGence used the image on its massive
    27   overhead video screen at SeneGence Seminar on or around April 12 or 13, 2019,
    28   which has since been rebroadcasted.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 24 of 52 Page ID #:513



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     2                                             Image “idoeye2”
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    12                                             SeneGence usage of “idoeye2” at
    13                                             Seminar on or around April 12-13, 2019
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    23         106. Image 3 is named “idoeyename” and was created by Counterclaim
    24   Plaintiff Martin and published on or around February 11, 2019. The Image was
    25   registered in a group photography registration VA 2-155-246 (Exhibit A) with an
    26   effective date of June 19, 2019. SeneGence used the image on its massive
    27   overhead video screen at SeneGence Seminar on or around April 12 or 13, 2019,
    28   which has since been rebroadcasted.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 25 of 52 Page ID #:514



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     3                                                    Image “idoeyename”
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    12                                             SeneGence usage of “idoeyename” at
    13                                             Seminar on or around April 12-13, 2019
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    23         107. Image 4 is named “idoeyetrio” and was created by Counterclaim
    24   Plaintiff Martin and published on or around February 11, 2019. The Image was
    25   registered in a group photography registration VA 2-155-246 (Exhibit A) with an
    26   effective date of June 19, 2019. SeneGence used the image on its massive
    27   overhead video screen at SeneGence Seminar on or around April 12 or 13, 2019,
    28   which has since been rebroadcasted.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 26 of 52 Page ID #:515



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     4                                                    Image “idoeyetrio”
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    13                                             SeneGence usage of “idoeyename” at
    14                                             Seminar on or around April 12-13, 2019
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    23         108. Image 5 is named “rosie 1” and was created by Counterclaim Plaintiff
    24   Martin and published on or around April 1, 2019. The Image was registered in a
    25   group photography registration VA 2-155-246 (Exhibit A) with an effective date
    26   of June 19, 2019, within the three-month time period for timely registration and
    27   eligible for statutory damages. SeneGence used the image on its massive overhead
    28   video screen at SeneGence Seminar on or around April 12 or 13, 2019, which has
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 27 of 52 Page ID #:516



     1   since been rebroadcasted.
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     3                                                    Image “rosie 1”
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    13                                             SeneGence usage of “rosie 1” at
    14                                             Seminar on or around April 12-13, 2019
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    23         109. Image 6 is named “rosie eye 1” and was created by Counterclaim
    24   Plaintiff Martin and published on or around April 1, 2019. The Image was
    25   registered in a group photography registration VA 2-155-246 (Exhibit A) with an
    26   effective date of June 19, 2019, within the three-month time period for timely
    27   registration and eligible for statutory damages. SeneGence used the image on its
    28   massive overhead video screen at SeneGence Seminar on or around April 12 or 13,
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 28 of 52 Page ID #:517



     1   2019, which has since been rebroadcasted.
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     3                                                    Image “rosie eye 1”
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    14                                             SeneGence usage of “rosie eye 1” at
    15                                             Seminar on or around April 12-13, 2019
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    22         110. Image 7 is named “rosie eye 2” and was created by Counterclaim
    23   Plaintiff Martin and published on or around April 1, 2019. The Image was
    24   registered in a group photography registration VA 2-155-246 (Exhibit A) with an
    25   effective date of June 19, 2019, within the three-month time period for timely
    26   registration and eligible for statutory damages. SeneGence used the image on its
    27   massive overhead video screen at SeneGence Seminar on or around April 12 or 13,
    28   2019, which has since been rebroadcasted.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 29 of 52 Page ID #:518



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     2                                                    Image “rosie eye 2”
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    14                                             SeneGence usage of “rosie eye 2” at
    15                                             Seminar on or around April 12-13, 2019
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    20         111. Image 8 is named “rosie name” and was created by Counterclaim
    21   Plaintiff Martin and published on or around April 1, 2019. The Image was
    22   registered in a group photography registration VA 2-155-246 (Exhibit A) with an
    23   effective date of June 19, 2019, within the three-month time period for timely
    24   registration and eligible for statutory damages. SeneGence used the image on its
    25   massive overhead video screen at SeneGence Seminar on or around April 12 or 13,
    26   2019, which has since been rebroadcasted.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 30 of 52 Page ID #:519



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     3                                                    Image “rosie name”
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    10                                             SeneGence usage of “rosie name” at
    11                                             Seminar on or around April 12-13, 2019
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    20         112. Image 9 is named “sweetpeasiara” and was created by Counterclaim
    21   Plaintiff Martin and published on or around May 29, 2018. The Image was
    22   registered in a group photography registration VA 2-123-361 (Exhibit B) with an
    23   effective date of October 24, 2018. Counterclaim Plaintiff added text as an overlay
    24   to the Image. SeneGence used the image on its massive overhead video screen at
    25   SeneGence Seminar on or around April 12 or 13, 2019, which has since been
    26   rebroadcasted.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 31 of 52 Page ID #:520



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     2                                                    Image “sweetpeasiara”
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    10                                             SeneGence usage of “sweetpeasiara” at
    11                                             Seminar on or around April 12-13, 2019
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    20         113. Image 10 is named “amethyst swatch” and was created by
    21   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    22   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    23   SeneGence used the image three times in a company distributor training, which
    24   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 32 of 52 Page ID #:521



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     4                                                    Image “amethyst swatch”
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     9         114. Image 11 is named “candlelight swatch” and was created by
    10   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    11   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    12   SeneGence used the image three times in a company distributor training, which
    13   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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    15                                                    Image “candlelight swatch”
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    21         115. Image 12 is named “copper rose shimmer swatch” and was created by
    22   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    23   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    24   SeneGence used the image three times in a company distributor training, which
    25   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 33 of 52 Page ID #:522



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     3                                             Image “copper rose shimmer swatch”
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     9         116. Image 13 is named “denim swatch” and was created by Counterclaim
    10   Plaintiff Martin. The Image was registered in a group photography registration VA
    11   2-155-246 (Exhibit A) with an effective date of June 19, 2019. SeneGence used
    12   the image three times in a company distributor training, which has since been
    13   rebroadcasted, as detailed and shown in paragraph 117, below.
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    20                                                    Image “denim swatch”
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    22         117. Image 14 is named “garnet swatch” and was created by Counterclaim
    23   Plaintiff Martin. The Image was registered in a group photography registration VA
    24   2-155-246 (Exhibit A) with an effective date of June 19, 2019. SeneGence used
    25   the image three times in a company distributor training, which has since been
    26   rebroadcasted, as detailed and shown in paragraph 117, below.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 34 of 52 Page ID #:523



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     3                                                    Image “garnet swatch”
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     9         118. Image 15 is named “granite swatch” and was created by Counterclaim
    10   Plaintiff Martin. The Image was registered in a group photography registration VA
    11   2-155-246 (Exhibit A) with an effective date of June 19, 2019. SeneGence used
    12   the image three times in a company distributor training, which has since been
    13   rebroadcasted, as detailed and shown in paragraph 117, below.
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    18                                             Image “granite swatch”
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    20         119. Image 16 is named “moca java swatch” and was created by
    21   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    22   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    23   SeneGence used the image three times in a company distributor training, which
    24   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 35 of 52 Page ID #:524



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     3                                      Image “mocha java swatch”
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     7         120. Image 17 is named “mulberry swatch” and was created by
     8   Counterclaim Plaintiff Martin. The Image was registered in a group photography
     9   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    10   SeneGence used the image three times in a company distributor training, which
    11   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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    15                                      Image “mulberry swatch”
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    20         121. Image 18 is named “onyx swatch” and was created by Counterclaim
    21   Plaintiff Martin. The Image was registered in a group photography registration VA
    22   2-155-246 (Exhibit A) with an effective date of June 19, 2019. SeneGence used
    23   the image three times in a company distributor training, which has since been
    24   rebroadcasted, as detailed and shown in paragraph 117, below.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 36 of 52 Page ID #:525



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     3                                             Image “onyx swatch”
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     8         122. Image 19 is named “pink opal shimmer swatch” and was created by
     9   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    10   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    11   SeneGence used the image three times in a company distributor training, which
    12   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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    15                                      Image “pink opal shimmer swatch”
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    19         123. Image 20 is named “pink posey swatch” and was created by
    20   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    21   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    22   SeneGence used the image three times in a company distributor training, which
    23   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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    28                                             Image “pink posey swatch”
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 37 of 52 Page ID #:526



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     2         124. Image 21 is named “rustic brown swatch” and was created by
     3   Counterclaim Plaintiff Martin. The Image was registered in a group photography
     4   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
     5   SeneGence used the image three times in a company distributor training, which
     6   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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     9                                             Image “rustic brown swatch”
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    12         125. Image 22 is named “sandstone pearl shimmer swatch” and was
    13   created by Counterclaim Plaintiff Martin. The Image was registered in a group
    14   photography registration VA 2-155-246 (Exhibit A) with an effective date of June
    15   19, 2019. SeneGence used the image three times in a company distributor training,
    16   which has since been rebroadcasted, as detailed and shown in paragraph 117,
    17   below.
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    20                                      Image “sandstone pearl shimmer swatch”
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    23         126. Image 23 is named “silver shimmer swatch” and was created by
    24   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    25   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    26   SeneGence used the image three times in a company distributor training, which
    27   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 38 of 52 Page ID #:527



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     5                                             Image “silver shimmer swatch”
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     8         127. Image 24 is named “smoked topaz swatch” and was created by
     9   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    10   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    11   SeneGence used the image three times in a company distributor training, which
    12   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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    17                                      Image “smoked topaz swatch”
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    19         128. Image 25 is named “whisper pink swatch” and was created by
    20   Counterclaim Plaintiff Martin. The Image was registered in a group photography
    21   registration VA 2-155-246 (Exhibit A) with an effective date of June 19, 2019.
    22   SeneGence used the image three times in a company distributor training, which
    23   has since been rebroadcasted, as detailed and shown in paragraph 117, below.
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    27                                             Image “whisper pink swatch”
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 39 of 52 Page ID #:528



     1         129. All Images numbered 10-25 were used in SeneGence’s sanctioned
     2   training for Australia and New Zealand distributors, as shown below. Each image
     3   was used and/or displayed three separate occasions: at least once on July 5, 2019,
     4   at least once on July 6, 2019, and at least once on July 7, 2019, constituting three
     5   separate infringements per image. Additionally, the training was live streamed via
     6   Facebook live as well.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 40 of 52 Page ID #:529



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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 41 of 52 Page ID #:530



     1         131. The Images are original works of authorship fixed in a tangible
     2   medium of expression from which they can be perceived, reproduced, or otherwise
     3   communicated, either directly or with the aid of a machine or device; they are in
     4   perspective, orientation, positioning, lighting and other details are entirely original,
     5   distinctive, and unique. As such, the Images are subject matter protectable under
     6   the Copyright Act.
     7         132. Counterclaim Plaintiffs never authorized SeneGence to reproduce,
     8   display, or distribute the Images for any usage, especially on the big screen at
     9   SeneGence Seminar or in training presentations for distributors.
    10         133. Counterclaim Plaintiff Martin is the proprietor of the right, title, and
    11   interest in and to the copyright in the pursuant to 17 U.S.C. § 201.
    12         134. The Images have been duly registered with the United States
    13   Copyright Office in registrations with effective dates of October 24, 2018, and
    14   June 19, 2019.
    15         135. Counterclaim Defendant SGII, Inc. did not have the authorization of
    16   Defendant Martin or the law to reproduce, distribute, display, or create derivative
    17   works of the Images.
    18         136. Counterclaim Defendant SGII, Inc. have not compensated Martin for
    19   reproducing and displaying the Images.
    20         137. Without Martin’s authorization, Counterclaim Defendant SGII, Inc.
    21   reproduced and publicly displayed Martin’s copyrightable works in violation of 17
    22   U.S.C. § 501.
    23         138. Counterclaim Defendant SGII, Inc.’ conduct violates the exclusive
    24   rights belonging to Martin under 17 U.S.C. § 106.
    25         139. All of SeneGence’s usages of the Images have come after it initiated
    26   it’s lawsuit against Counterclaim Plaintiffs regarding intellectual property matters.
    27         140. As Defendants were reproducing, displaying, and distributing the
    28   Images between April 18, 2019 and as recently as last week, Martin’s claims of
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 42 of 52 Page ID #:531



     1   infringement are clearly within the three-year statute of limitations period pursuant
     2   to 17 U.S.C. § 507(b).
     3         141. As a direct and proximate result of their wrongful conduct,
     4   Defendants have realized and continues to realize profits and other benefits
     5   rightfully belonging to Martin for the Images. Accordingly, Martin is entitled to
     6   and seeks an award of actual damages and profits plus attorneys’ fees and costs
     7   pursuant to 17 U.S.C. §§ 504(b) and 505 for all images.
     8         142. In the alternative, since Martin timely registered the copyrights in the
     9   twenty-one Images, Martin is entitled to and seeks statutory damages for
    10   Defendants’ infringement of the Images, including attorneys’ fees and costs,
    11   pursuant to 17 U.S.C. §§ 504(c)(1) and 505.
    12         143. The infringement by Counterclaim Defendant SGII, Inc. was blatantly
    13   willful and performed with knowledge that the reproduction and display of the
    14   Images was unauthorized, especially given that they are in pending litigation with
    15   the creator of the works; Martin is therefore entitled to the recovery of enhanced
    16   statutory damages pursuant to 17 U.S.C. 504 (c)(2).
    17                              SIXTH CLAIM FOR RELIEF
    18        Misappropriation of Right of Publicity Under Cal. Civ. Code § 3344
    19         144. Counterclaim Plaintiffs reallege and incorporate by reference each
    20   and every allegation contained within paragraphs 1 through 141, inclusive, as if
    21   the same were fully set forth herein.
    22         145. California law adamantly protects the right of publicity of individuals,
    23   specifically the name, voice, signature, photograph, or likeness of an individual.
    24         146. California Civil Code § 3344 specifically governs “Use of Another's
    25   Name, Voice, Signature, Photograph, or Likeness in Advertising or Soliciting
    26   Without Prior Consent.”
    27         147. Section A states: “(a) Any person who knowingly uses another's
    28   name, voice, signature, photograph, or likeness, in any manner on or in products,
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 43 of 52 Page ID #:532



     1   merchandise, or goods, or for purposes of advertising or selling, or soliciting
     2   purchases of products, merchandise, goods or services, without such person's prior
     3   consent, or, in the case of a minor, the prior consent of his parent or legal guardian,
     4   shall be liable for any damages sustained by the person or persons injured as a
     5   result thereof. In addition, in any action brought under this section, the person who
     6   violated the section shall be liable to the injured party or parties in an amount
     7   equal to the greater of seven hundred fifty dollars ($750) or the actual damages
     8   suffered by him or her as a result of the unauthorized use, and any profits from the
     9   unauthorized use that are attributable to the use and are not taken into account in
    10   computing the actual damages. In establishing such profits, the injured party or
    11   parties are required to prove his or her deductible expenses. Punitive damages may
    12   also be awarded to the injured party or parties. The prevailing party in any action
    13   under this section shall also be entitled to attorney's fees and costs.”
    14         148. The statute goes on to state that in the instances of photography, that
    15   the photograph must be of a “person that is readily identifiable. Cal. Civ. Code §
    16   3344(b). “A person shall be deemed to be readily identifiable from a photograph
    17   when one who views the photograph with the naked eye can reasonably determine
    18   that the person depicted in the photograph is the same person who is complaining
    19   of its unauthorized use.” Cal. Civ. Code § 3344(b)(1).
    20         149. Counterclaim Defendant SGII, Inc. continue to use, even after
    21   commencing the FAC in the instant action, Counterclaim Plaintiffs Martin’s image
    22   on their social media channels specifically the Instagram account.
    23         150. SeneGence uses its Instagram account to promote its products and
    24   distributors, so such usage constitutes using Martin’s image in advertising or
    25   marketing to sell its products.
    26         151. Martin does not consent to the usage of her images, especially after
    27   having the instant action commenced against her for taking photographs like the
    28   very photograph that Counterclaim Defendant has based this suit on.
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         ___________________________________________________________________________________________
          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 44 of 52 Page ID #:533



     1         152. Martin is easily identifiable as the individual making the complaint.
     2         153. Counterclaim Defendant’s continuing use of such works, on their
     3   official social media channels, is a clear violation of Section 3344, specifically
     4   regarding Counterclaim Plaintiff Martin’s right of publicity.
     5                            SEVENTH CLAIM FOR RELIEF
     6                                     Unjust Enrichment
     7         154. Counterclaim Plaintiffs reallege and incorporate by reference each
     8   and every allegation contained within paragraphs 1 through 151, inclusive, as if
     9   the same were fully set forth herein.
    10         155. The elements for a claim of unjust enrichment are "receipt of a benefit
    11   and unjust retention of the benefit at the expense of another." (Lectrodryer v.
    12   SeoulBank (2000) 77 Cal.App.4th 723, 726 .) "The theory of unjust enrichment
    13   requires one who acquires a benefit which may not justly be retained, to return
    14   either the thing or its equivalent to the aggrieved party so as not to be unjustly
    15   enriched." (Otworth v. Southern Pac. Transportation Co. (1985) 166 Cal.App.3d
    16   452, 460 [212 Cal.Rptr. 743].)
    17         156. California courts have further expounded the unjust enrichment cause
    18   of action, which sounds in restitution. “A person is enriched if the person receives
    19   a benefit at another’s expense.” First Nationwide Savings v. Perry, (1992) 11
    20   Cal.App.4th 1657, 1662 (citing Rest., Restitution, supra, § 1, com. a.). “A benefit
    21   is conferred not only where one adds to the property of another, but also where one
    22   saves the other from expense or loss.” California Federal Bank v.
    23   Matreyek, (1992) 8 Cal.App.4th 125, 131 [10 Cal.Rptr.2d 58, 61].
    24         157. Counterclaim Defendant SGII, Inc. have received tangible and real
    25   benefits from the work of Counterclaim Plaintiffs. While Counterclaim Plaintiff
    26   Martin was a distributor, she created and allowed others, including SeneGence to
    27   use her copyrighted work in order to bolster their business and sell products. This
    28   is a direct benefit to SeneGence, as they obtained free marketing materials and did
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         ___________________________________________________________________________________________
          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 45 of 52 Page ID #:534



     1   not have to pay a marketing budget.
     2         158. Additionally, SeneGence was so pleased with Martin’s work that they
     3   requested that she offer trainings to other distributors to assist them with their
     4   photography. All of these efforts increased distributor sales, which in turn
     5   increased Counterclaim Defendant’s profits.
     6         159. Counterclaim Defendant now seeks to classify the actions of Martin
     7   as unauthorized or illegal in some way, despite previous approval. The images that
     8   they have included in their FAC were largely taken and displayed while Martin
     9   was a distributor and are now being used to make a claim for trademark
    10   infringement. However, there is no requirement of distributors to remove images
    11   upon termination of the agreement. SeneGence likely made tens of thousands of
    12   dollars from the usage of Martin’s images by both Martin, other distributors, and
    13   themselves on their official social media channels.
    14         160. In fact, SeneGence is still using Martin’s images and profiting from
    15   them, as seen in Claim for Relief Six (Copyright Infringement). They also
    16   continue to use her images on their social media platforms, shown below.
    17         161. By simultaneously condemning the work of Counterclaim Plaintiffs
    18   while using their copyrighted works for their benefit (increased sales, lack of
    19   spending money for marketing budget), Counterclaim Defendant SGII, Inc. are
    20   being unjustly enriched monetarily by increasing revenue and also decreasing
    21   costs. They are seeking to classify previously authorized works as unlawful while
    22   reaping the financial benefits of said work.
    23         162. Counterclaim Defendant’s continuing use of such works, on their
    24   official social media channels, in their training materials for distributors, and even
    25   at the annual SeneGence Seminar conference, shows that SeneGence maintains
    26   and continues the unjust retention of the benefit at the expense of another,
    27   specifically Counterclaim Plaintiffs.
    28   ///
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         ___________________________________________________________________________________________
          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 46 of 52 Page ID #:535



     1                             EIGHTH CLAIM FOR RELIEF
     2                          Tortious Interference with Contracts
     3         163. Counterclaim Plaintiffs reallege and incorporate by reference each
     4   and every allegation contained within paragraphs 1 through 160, inclusive, as if
     5   the same were fully set forth herein.
     6         164.     This claim arises under the laws of the State of California.
     7         165. Counterclaim Plaintiffs operate a website that allows for individuals
     8   who wish to support Defendants’ art to sign up and become subscribers through a
     9   Patreon account.
    10         166. When such consumers sign up to become subscribers, they are
    11   entering into a contractual relationship to a monthly fee of $10 per month until
    12   cancellation of the agreement by either Counterclaim Plaintiffs or third party
    13   subscribers.
    14         167. Such subscription constitutes a business relationship between
    15   Counterclaim Plaintiffs. Counterclaim Defendant SGII, Inc. are aware of this
    16   relationship with third party members of the public, as evidenced by their
    17   allegations in the FAC.
    18         168. Counterclaim Defendant SGII, Inc. are also aware that Counterclaim
    19   Plaintiffs do not use any registered trademarks, product packaging in the
    20   photography that they offer, but Counterclaim Defendant SGII, Inc. continue to
    21   publicly object and interfere with Counterclaim Plaintiffs’ and even call out
    22   Counterclaim Plaintiffs by name.
    23         169. In order to discourage members of the public from continuing a
    24   business relationship with Counterclaim Plaintiffs, Counterclaim Defendant SGII,
    25   Inc. have recently launched a number of initiatives to affect Counterclaim
    26   Plaintiffs’ business. Counterclaim Defendant SGII, Inc. have started issuing
    27   compliance letters to anyone who appears to use photography created by
    28   Counterclaim Plaintiffs, likely including those who lawfully subscribe to
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 47 of 52 Page ID #:536



     1   Counterclaim Plaintiffs’ Patreon. Counterclaim Defendant SGII, Inc. have hosted
     2   live workshops to utilize scare tactics by stating in one breath that usage of
     3   Counterclaim Plaintiffs’ images is prohibited but later admitting that there are no
     4   real penalties for usage of such images.
     5         170. All of these actions have continued while Counterclaim Defendant
     6   SGII, Inc. continue to use Counterclaim Plaintiffs’ images themselves.
     7         171. In fact, Counterclaim Defendant SGII, Inc. have hired an individual to
     8   create “official” photography for SeneGence, and have admonished those who use
     9   Counterclaim Plaintiffs’ photography. But simultaneously, Counterclaim
    10   Defendant SGII, Inc. have allowed Ryan Halls, their own photographer, to operate
    11   the same business as Counterclaim Plaintiffs, selling unauthorized photography
    12   using actual SeneGence registered trademarks. This has occurred as recently as
    13   this month, well after being hired, and can be seen below.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 48 of 52 Page ID #:537



     1         172. As a direct result of Counterclaim Defendant SGII, Inc.’ conduct,
     2   Counterclaim Plaintiffs have lost substantial contractual relationships with their
     3   subscribers.
     4         173. By outright attacking Counterclaim Plaintiffs and sending
     5   unwarranted compliance letters to third parties as a scare tactic to encourage those
     6   individuals to terminate their contractual relationship with Counterclaim Plaintiffs,
     7   Counterclaim Defendant SGII, Inc. have solicited and directly caused the
     8   termination of a continued business relationship with Counterclaim Plaintiffs.
     9         174. As a proximate result of Defendants’ actions, Counterclaim Plaintiffs
    10   have has suffered, and will continue to suffer, damage to its sales, business
    11   relations, and reputation.
    12         175. Counterclaim Defendant SGII, Inc.’ acts have been willful, malicious,
    13   oppressive, and undertaken with the conscious intent to deprive Counterclaim
    14   Plaintiffs of its rights and property, thereby entitling SeneGence to exemplary
    15   damages in addition to all other damages sustained thereby.
    16                                NINTH CLAIM FOR RELIEF
    17     Violation of California Unfair Competition Act, Cal. Bus. & Prof. Code §§
    18                                         17200 et seq.
    19         176. Counterclaim Plaintiffs reallege and incorporate by reference each
    20   and every allegation contained within paragraphs 1 through 173, inclusive, as if
    21   the same were fully set forth herein.
    22         177. Counterclaim Defendant SGII, Inc. unlawfully infringed
    23   Counterclaim Plaintiff’s registered copyrights when they reproduced images in
    24   their corporate presentations.
    25         178. Counterclaim Defendant SGII, Inc. unlawfully infringed
    26   Counterclaim Plaintiff’s registered copyrights when they created unapproved
    27   derivative works using Counterclaim Plaintiff’s and images.
    28         179. Counterclaim Defendant SGII, Inc. unlawfully infringed
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 49 of 52 Page ID #:538



     1   Counterclaim Plaintiff’s registered copyrights when they publicly displayed
     2   Counterclaim Plaintiffs’ images in their corporate presentations.
     3         180. Counterclaim Defendant SGII, Inc.’ copyright infringement has
     4   caused harm to Counterclaim Plaintiffs including a loss of money and harm to
     5   Counterclaim Plaintiffs’ intellectual property rights.
     6         181. For these and other reasons, Counterclaim Defendant should be held
     7   liable for unfair competition.
     8         182. Counterclaim Defendant SGII, Inc.’ actions were willful and
     9   malicious and justify an award of exemplary and punitive damages.
    10         1.     Counterclaim Defendant SGII, Inc.Counterclaim Defendant SGII,
    11   Inc.Counterclaim Defendant SGII, Inc.Counterclaim Defendant SGII, Inc.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 50 of 52 Page ID #:539



     1                                  PRAYER FOR RELIEF
     2   WHEREFORE Defendants pray for relief as follows:
     3         1.     That SGII, INC., d/b/a SENEGENCE INTERNATIONAL, INC.
     4   takes nothing by way of its FAC;
     5         2.     That the FAC and each and every purported claim for relief therein be
     6   dismissed with prejudice;
     7         3.     Entry of a declaratory judgment that Counterclaim Plaintiffs’
     8   Photographs do not violate any of Counterclaim Defendant SGII, Inc.’s rights in
     9   its trademarks, including pursuant to 15 U.S.C. §§ 1114 and 1125(a), the common
    10   law trademark infringement and unfair competition, California Unfair Competition
    11   under California Business and Professions Code § 17200, 15 U.S.C. § 1125(c), or
    12   any other rights under federal or state law;
    13         4.     Entry of judgement for Counterclaim Plaintiffs on all counterclaims;
    14         5.     Actual damages in an amount to be proven at trial;
    15         6.     That Counterclaim Plaintiffs be awarded enhanced and punitive
    16   damages as a result of Counterclaim Defendants’ willful conduct;
    17         7.     That Counterclaim Plaintiffs be awarded their costs of suit incurred
    18   herein;
    19         8.     That Counterclaim Plaintiffs’ be awarded attorneys’ fees against
    20   Plaintiff under 15 U.S.C. § 1117, this case being exceptional;
    21         9.     Issue an order that Defendants’ unauthorized conduct violates
    22   Martin’s rights under the Federal Copyright Act at 17 U.S.C. §101, et seq.;
    23         10.    Order that Defendants willfully infringed Martin’s rights to the
    24   Images under the Copyright Act;

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               11.    Order Defendants to pay Martin all profits and damages in such
         amount as may be found pursuant to 17 U.S.C. § 504(b) (with interest thereon at
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         the highest legal rate) for SeneGence's infringement of the Images; alternatively,
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         maximum statutory damages in the amount of $30,000 for each infringement
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 51 of 52 Page ID #:540



     1   pursuant to 17 U.S.C. § 504 (c)(1); or such other amount as may be proper
     2   pursuant to 17 U.S.C. § 504;
     3         12.    Upon a finding that the infringements were willful, award Martin
     4   maximum statutory damages in the amount of $150,000 for each of

     5
         Defendants’ infringements of Martin's copyrights in the Images pursuant to 17
         U.S.C. § 504 (c)(2); or such other amount as may be proper pursuant to 17
     6
         U.S.C. § 504;
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               13.    Order Defendants to pay Martin its costs of litigation and
     8
         reasonable attorneys’ fees in this action, pursuant to 17 U.S.C. § 505;
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               14.    Order that Defendants are subject to preliminary and permanent
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         injunctions providing that Defendants shall to deliver to Martin all copies of
    11
         the Images and all other materials containing such infringing copies of the
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         Images in Defendants’ possession, custody or control; and
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               15.    For such other and further relief as the Court deems just and proper.
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
Case 8:19-cv-00541-JVS-KES Document 34 Filed 09/09/19 Page 52 of 52 Page ID #:541



     1   Dated: September 9, 2019                        HUGHLEY SMITH LAW
                                                         TYRA HUGHLEY SMITH
     2

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     7                                                   MARTIN, LLC
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                                                         MARTIN, LLC
    13
                                                         Attorneys for
    14                                                   Defendants/Counterclaim Plaintiffs
                                                         Siara Martin and Siara Martin, LLC
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          FIRST AMENDED COUNTERCLAIMS OF DEFENDANTS SIARA MARTIN AND SIARA MARTIN, LLC
